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    Fill in this information to identify the case:

    United States Bankruptcy Court for the:

           Southern             District of                 New York
                                                (State)
    Case number (If known):                                        Chapter 11

                                                                                                                                               ☐ Check if this is an
                                                                                                                                                   amended filing


   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  04/16

   If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                             Westinghouse Electric Company LLC


   2.   All other names debtor used
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer                 XX-XXXXXXX
        Identification Number (EIN)


   4.   Debtor’s         Principal place of business                                                      Mailing address, if different from principal place of business
        address
                         1000                     Westinghouse Drive
                         Number                   Street                                                  Number                      Street



                                                                                                          P.O. Box


                         Cranberry Township                Pennsylvania         16066
                         City                              State                ZIP Code                  City                        State           ZIP Code

                                                                                                          Location of principal assets, if different from principal place
                                                                                                          of business
                         Butler
                         County
                                                                                                          Number                      Street




                                                                                                          City                        State           ZIP Code



   5.   Debtor’s website (URL)                   www.westinghousenuclear.com

   6.   Type of debtor                           ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                 ☐ Partnership (excluding LLP)
                                                 ☐ Other. Specify:




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Debtor
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                                                                                Case number (if known)
                 Westinghouse Electric Company LLC
                 Name
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                                             A. Check one:
 7.      Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             ☒ None of the above


                                             B. Check all that apply:
                                             ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                5413 – Architectural, Engineering, and Related Services;
                                                5419 – Other Technical Services
 8.      Under which chapter of the
                                             Check one:
         Bankruptcy Code is the
         debtor filing?                      ☐ Chapter 7
                                             ☐ Chapter 9
                                             ☒ Chapter 11. Check all that apply:
                                                              ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                on 4/01/19 and every 3 years after that).
                                                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return or
                                                                if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                1116(1)(B).
                                                              ☐ A plan is being filed with this petition.
                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                1934 Rule 12b-2.
                                             ☐ Chapter 12


 9.      Were prior bankruptcy cases         ☒ No
         filed by or against the debtor
                                             ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                MM/ DD/ YYYY
         separate list.
                                                          District                       When                          Case number

                                                                                                       MM / DD/ YYYY

 10. Are any bankruptcy cases                ☐ No
     pending or being filed by a
                                             ☒ Yes        Debtor         See attached Schedule 1                       Relationship
     business partner or an
     affiliate of the debtor?                             District                                                     When
         List all cases. If more than 1,                  Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.


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                                                                                Case number (if known)
                Westinghouse Electric Company LLC
                Name
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   11. Why is the case filed in this       Check all that apply:
       district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                           ☐ No
     possession of any real
     property or personal property         ☒ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
     attention?                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                           health or safety.
                                                           What is the hazard?
                                                     ☐     It needs to be physically secured or protected from the weather.
                                                     ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                           without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).


                                                      ☒ Other        See attached Schedule 2


                                                     Where is the property?             See attached Schedule 2
                                                                                        Number                 Street


                                                                                        City                              State                ZIP Code
                                                     Is the property insured?
                                                                                         ☐ No
                                                                                        ☒ Yes. Insurance agency           See attached Schedule 2
                                                                                                   Contact Name
                                                                                                   Phone




                Statistical and administrative information



   13. Debtor’s estimation of          Check one:
       available funds                 ☒     Funds will be available for distribution to unsecured creditors.
                                       ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of             
                                       ☐     1-49                                      ☒       1,000-5,000                        ☐    25,001-50,000
       creditors                       ☐     50-99                                     ☐       5,001-10,000                       ☐    50,001-100,000
                                       ☐     100-199                                   ☐       10,001-25,000                      ☐    More than 100,000
                                       ☐     200-999

   15. Estimated assets                ☐     $0-$50,000                                ☐       $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                       ☐     $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒    $1,000,000,001-$10 billion
                                       ☐     $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                       ☐     $500,001-$1 million                       ☐       $100,000,001-$500 million          ☐    More than $50 billion

   16. Estimated liabilities           ☐     $0-$50,000                                ☐       $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                       ☐     $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒    $1,000,000,001-$10 billion
                                       ☐     $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                       ☐     $500,001-$1 million                       ☐       $100,000,001-$500 million          ☐    More than $50 billion

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                                                                           Case number (if known)
                Westinghouse Electric Company LLC
                Name
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                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of           petition.
         debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true
                                                and correct.
                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on        03/29/2017
                                                                         MM / DD / YYYY



                                                     /s/ Lisa J. Donahue                                             Lisa J. Donahue
                                                     Signature of authorized representative of debtor                Printed name

                                                     Chief Transition and Development Officer
                                                     Title




     18. Signature of attorney                 /s/ Gary T. Holtzer                                            Date       03/29/2017
                                              Signature of attorney for debtor                                          MM / DD / YYYY

                                              Gary T. Holtzer
                                                Printed Name
                                       
                                              Weil, Gotshal & Manges LLP
                                                Firm Name
                                       
                                              767 Fifth Avenue
                                                Number              Street
                                       
                                              New York, NY 10153
                                                City/State/Zip
                                       
                                              (212) 310-8000
                                                Contact phone
                                       
                                              Gary.Holtzer@weil.com
                                                Contact email address
                                       
                                                2401859                                        NY
                                       
                                                Bar Number                                     State
                                       




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                                                 Schedule 1

                 Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                   On the date hereof, each of the affiliated entities listed below, including the debtor
   in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the
   United States Code in the United States Bankruptcy Court for the Southern District of New York
   (the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
   entities listed below be consolidated for procedural purposes only and jointly administered
   pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure. Additional information
   about the relationship between each entity is contained in the Declaration of Lisa J. Donahue
   Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the Southern District of New York,
   which has been filed contemporaneously herewith.

               COMPANY                    CASE NUMBER         DATE FILED          DISTRICT        JUDGE
Toshiba Nuclear Energy Holdings (UK)
                                           17-________( )     March 29, 2017       S.D.N.Y.        Pending
Limited
Westinghouse Electric Company LLC          17-________( )     March 29, 2017       S.D.N.Y.        Pending
CE Nuclear Power International, Inc.       17-________( )     March 29, 2017       S.D.N.Y.        Pending
Fauske and Associates LLC                  17-________( )     March 29, 2017       S.D.N.Y.        Pending
Field Services, LLC                        17-________( )     March 29, 2017       S.D.N.Y.        Pending
Nuclear Technology Solutions LLC           17-________( )     March 29, 2017       S.D.N.Y.        Pending
PaR Nuclear Holding Co., Inc.              17-________( )     March 29, 2017       S.D.N.Y.        Pending
PaR Nuclear, Inc.                          17-________( )     March 29, 2017       S.D.N.Y.        Pending
PCI Energy Services LLC                    17-________( )     March 29, 2017       S.D.N.Y.        Pending
Shaw Global Services, LLC                  17-________( )     March 29, 2017       S.D.N.Y.        Pending
Shaw Nuclear Services, Inc.                17-________( )     March 29, 2017       S.D.N.Y.        Pending
Stone & Webster Asia Inc.                  17-________( )     March 29, 2017       S.D.N.Y.        Pending
Stone & Webster Construction Inc.          17-________( )     March 29, 2017       S.D.N.Y.        Pending
Stone & Webster International Inc.         17-________( )     March 29, 2017       S.D.N.Y.        Pending
Stone & Webster Services LLC               17-________( )     March 29, 2017       S.D.N.Y.        Pending
TSB Nuclear Energy Services Inc.           17-________( )     March 29, 2017       S.D.N.Y.        Pending
WEC Carolina Energy Solutions, Inc.        17-________( )     March 29, 2017       S.D.N.Y.        Pending
WEC Carolina Energy Solutions, LLC         17-________( )     March 29, 2017       S.D.N.Y.        Pending
WEC Engineering Services Inc.              17-________( )     March 29, 2017       S.D.N.Y.        Pending
WEC Equipment & Machining
                                           17-________( )     March 29, 2017       S.D.N.Y.        Pending
Solutions, LLC
WEC Specialty LLC                          17-________( )     March 29, 2017       S.D.N.Y.        Pending
WEC Welding and Machining, LLC             17-________( )     March 29, 2017       S.D.N.Y.        Pending
WECTEC Contractors Inc.                    17-________( )     March 29, 2017       S.D.N.Y.        Pending




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               COMPANY                    CASE NUMBER       DATE FILED       DISTRICT      JUDGE
WECTEC Global Project Services Inc.        17-________( )   March 29, 2017      S.D.N.Y.   Pending
WECTEC LLC                                 17-________( )   March 29, 2017      S.D.N.Y.   Pending
WECTEC Staffing Services LLC               17-________( )   March 29, 2017      S.D.N.Y.   Pending
Westinghouse Energy Systems LLC            17-________( )   March 29, 2017      S.D.N.Y.   Pending
Westinghouse Industry Products
                                           17-________( )   March 29, 2017      S.D.N.Y.   Pending
International Company LLC
Westinghouse International Technology
                                           17-________( )   March 29, 2017      S.D.N.Y.   Pending
LLC
Westinghouse Technology Licensing
                                           17-________( )   March 29, 2017      S.D.N.Y.   Pending
Company LLC




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                                                 Schedule 2

                                         Property Requiring Attention

                The Debtors own and lease certain real property and personal property at sites that
(i) are or have been used in connection with nuclear materials or for other activities that require,
or in the future will require, remediation or decommissioning, or (ii) are otherwise used to
produce and/or store potentially hazardous materials used in the production of nuclear fuel,
including uranium. Accordingly, out of an abundance of caution, the Debtors have identified
below such sites as holding real property or personal property that may require immediate
attention.

                For the avoidance of doubt, the Debtors do not believe that such property poses,
or is alleged to pose, any threat of imminent and identifiable hazard to public health or safety.
To the best of their knowledge and belief, the Debtors are in full compliance with all applicable
environmental laws and regulations, and only possess and utilize in their operations radiological
or other hazardous materials for which they have acquired the necessary permits and/or licenses
pursuant to the applicable laws and regulations.

              Each of the properties listed herein is insured by one or more of the following
insurance providers:

                           i.    American Nuclear Insurers (“ANI”) provides nuclear liability
                                 insurance.

                          ii.    NRI Insurance Services (“NRI”), Northcourt Limited (“Northcourt”),
                                 and the European Mutual Association for Nuclear Insurers
                                 (“EMANI”) insure real or personal property under the Debtors’ care,
                                 custody, or control.

                         iii.    A number of insurance providers provide general liability coverage
                                 (“General Liability”), including American International Group,
                                 Mitsui Sumitomo Insurance USA, Inc. and others.

The point of contact for the insurance providers listed above is Andrew Ainscough, Senior Client
Executive at Marsh & McLennan, (617) 838-5413, andrew.ainscough@marsh.com. Below is a
list of the applicable sites and relevant insurers.




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                                       Properties Needing Immediate Attention
                Site                              Address                            Insurance

   Columbia Fuel Fabrication                  5801 Bluff Road             ANI, NRI, Northcourt, EMANI, and
           Facility                          Hopkins, SC 29061               General Liability providers

                                            10,000 West 900 South        NRI, Northcourt, EMANI, and General
   Western Zirconium Project
                                              Ogden, Utah 84404                   Liability providers

                                           559 Westinghouse Road,        NRI, Northcourt, EMANI, and General
Blairsville Specialty Metals Plant
                                            Blairsville, PA 15717                 Liability providers

  Hematite Decommissioning                    3300 State Road P           ANI, NRI, Northcourt, EMANI, and
           Project                            Festus, MO 63028               General Liability providers

Materials Center of Excellence,
                                             1332 Beulah Road             ANI, NRI, Northcourt, EMANI, and
Chemistry Center of Excellence,
                                            Pittsburgh, PA 15235             General Liability providers
  Technical Services Center

                                             680 Waltz Mill Road          ANI, NRI, Northcourt, EMANI, and
Waltz Mill Decommissioning Site
                                             Madison, PA 15663               General Liability providers

                                            2939 Richardson Road          ANI, NRI, Northcourt, EMANI, and
    Richland Service Center
                                             Richland, WA 99354              General Liability providers




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                      PROPOSED RESOLUTIONS FOR
       CONSIDERATION AT A MEETING OF THE BOARD OF DIRECTORS OF
                WESTINGHOUSE ELECTRIC COMPANY LLC

To be considered at a meeting of the Board of Directors (the “Board of Directors”) of
Westinghouse Electric Company LLC (the “Company”) on March 29, 2017 at 1:30 am ET:

                WHEREAS, the Board of Directors has reviewed and had the opportunity to ask
questions about the materials presented by the management and advisors of the Company
regarding the liabilities and liquidity of the Company, the strategic alternatives available to it and
the impact of the foregoing on the Company’s businesses;

               WHEREAS, the Board of Directors has had the opportunity to consult with the
management and the legal and financial advisors of the Company to fully consider, and has
considered, the strategic alternatives available to the Company;

              WHEREAS, the Board of Directors has been advised by representatives of
Toshiba Corporation (“Toshiba”) that the Owner Board (as defined in the Company’s Limits of
Authority Policy, adopted by the Board of Directors on February 15, 2007, and last updated
November 1, 2016) has approved the actions contemplated by the below resolutions; and

               WHEREAS, the Board of Directors desires to approve the following resolutions.

II.    Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that, the Board of Directors has
determined, after consultation with the management and the legal and financial advisors of the
Company, that it is desirable and in the best interests of the Company, its creditors, and other
parties in interest that a petition be filed by the Company seeking relief under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and be it further

               RESOLVED, that, each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, to
negotiate, execute, deliver, and file, in the name and on behalf of the Company, and under its
corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists,
applications, pleadings, papers, affidavits, declarations, and other documents (the “Chapter 11
Filings”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) (with such changes therein and additions thereto as any such Authorized
Person may deem necessary, appropriate or advisable, the execution and delivery of any of the
Chapter 11 Filings by any such Authorized Person with any changes thereto to be conclusive
evidence that any such Authorized Person deemed such changes to meet such standard); and be it
further

               RESOLVED, that, each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all
further acts and deeds which such Authorized Person deems necessary, appropriate, or desirable
in connection with the Company’s chapter 11 case (the “Chapter 11 Case”) or Chapter 11
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Filings, including, without limitation, (i) the payment of fees, expenses and taxes such
Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating, executing,
delivering, performing and filing any and all documents, motions, pleadings, applications,
declarations, affidavits, schedules, statements, lists, papers, agreements, certificates and/or
instruments (or any amendments or modifications thereto) in connection with, or in furtherance
of, the Chapter 11 Case with a view to the successful prosecution of the Chapter 11 Case (such
acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

III.   Commencement of Chapter 11 Cases of Subsidiaries

               RESOLVED, that, the Board of Directors has determined, after consultation with
the management and the legal and financial advisors of the Company, that, in connection with
the Chapter 11 Case, it is desirable and in the best interests of the Company for each of its
wholly owned subsidiaries (the “Subsidiaries”) to file a petition seeking relief under the
provisions of the Bankruptcy Code (the “Subsidiary Chapter 11 Cases”) and to negotiate,
execute, deliver, and file all plans, petitions, schedules, motions, lists, applications, pleadings,
and other documents (the “Subsidiary Chapter 11 Filings”) in the Bankruptcy Court; and be it
further

               RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
Company, in its capacity as a member, shareholder or partner, as the case may be, of each of its
Subsidiaries, to consent to, authorize and/or approve any such Subsidiary Chapter 11 Cases
and/or the Subsidiary Chapter 11 Filings which such Authorized Person deems necessary,
appropriate, or desirable in connection with the Subsidiary Chapter 11 Cases (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further

               RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all
actions, including the negotiation, execution, delivery, and filing of all documents, agreements,
resolutions, motions and pleadings as are necessary, appropriate, or advisable to enable each
such Subsidiary to carry out its Subsidiary Chapter 11 Cases and the Subsidiary Chapter 11
Filings (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery thereof by any such
Authorized Person with any changes thereto to be conclusive evidence that any such Authorized
Person deemed such changes to meet such standard); and be it further

IV.    Debtor-in-Possession Financing

                 RESOLVED, that in connection with the Chapter 11 Case, it is in the best
interest of the Company to engage in, and the Company will obtain benefits from, the lending
transactions, under that certain superpriority secured debtor-in-possession credit facility in an
aggregate principal amount of approximately $800,000,000 to be evidenced by that certain
Commitment Letter, dated on or about March 28, 2017, to be entered into by and among the
Company and the commitment parties thereto (together with the attached Indicative Debtor-in-

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Possession Credit Facility Term Sheet and any other Annexes annexed thereto, the “DIP
Commitment Letter”) and a senior secured superpriority debtor-in-possession credit agreement,
to be entered into by and among the Company, as borrower, certain of the Company’s wholly-
owned subsidiaries as guarantors, the lenders from time to time party thereto (the “Lenders”),
and Citibank, N.A., as administrative agent (in such capacity, including any successor thereto,
the “Administrative Agent”) for the Lenders (together with any Annexes annexed thereto, the
“DIP Credit Agreement”) (capitalized terms used in this section with respect to debtor-in-
possession financing and not otherwise defined herein shall have the meanings ascribed to such
terms in the DIP Commitment Letter or the DIP Credit Agreement, as applicable); in each case
subject to approval by the Bankruptcy Court, which is necessary and appropriate to the conduct,
promotion and attainment of the business of the Company (the “Debtor-in-Possession
Financing”); and be it further

                 RESOLVED, that the form, terms and provisions of each of (i) the DIP
Commitment Letter, including the use of proceeds to provide liquidity for the Company
throughout the Chapter 11 Case, substantially in the form presented to the Board of Directors,
(ii) the DIP Credit Agreement, including the use of proceeds to provide liquidity for the
Company throughout the Chapter 11 Case, substantially on the terms and conditions set forth in
the Commitment Letter, (iii) the Liquidity Facility Agreement, substantially in the form
presented to the Board of Directors, (iv) the Pledge, Assignment and Control Agreement to be
entered into among Citibank, N.A. and the Company and (v) any and all of the other agreements,
including, without limitation, any guarantee and security agreement, certificates, documents and
instruments authorized, executed, delivered, reaffirmed, verified and/or filed in connection with
the Debtor-in-Possession Financing (together with the DIP Commitment Letter and the DIP
Credit Agreement, collectively, the “DIP Financing Documents”) and the Company’s
performance of its obligations thereunder, including the borrowings of funds, the on-lending of
such funds to subsidiaries of Westinghouse Electronic Company UK Holdings Limited (“WEC
UK”) and the granting of security interests contemplated thereunder, are hereby, in all respects
confirmed, ratified and approved; and be it further

                  RESOLVED, that any Authorized Person is hereby authorized, empowered,
and directed, in the name and on behalf of the Company, to cause the Company to negotiate and
approve the terms, provisions of and performance of, and to prepare, execute and deliver the DIP
Financing Documents to which it is a party, in the name and on behalf of the Company under its
corporate seal or otherwise, and such other documents, agreements, instruments and certificates
as may be required by the Agent or required by the DIP Commitment Letter, the DIP Credit
Agreement and any other DIP Financing Documents; and be it further

                RESOLVED, that the Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the DIP
Financing Documents including the borrowing of funds, the on-lending of such funds to
subsidiaries of WEC UK and the granting of security thereunder (collectively, the “DIP
Financing Transactions”); and be it further

                  RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of the Company as collateral pursuant to the DIP
Financing Documents to secure all of the obligations and liabilities of the Company thereunder

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to the Lenders and the Agent, and to authorize, execute, verify, file and/or deliver to the Agent,
on behalf of the Company, all agreements, documents and instruments required by the Lenders in
connection with the foregoing; and be it further

                   RESOLVED, that any Authorized Person is hereby authorized, empowered,
and directed, in the name and on behalf of the Company, to take all such further actions
including, without limitation, to pay all fees and expenses, in accordance with the terms of the
DIP Financing Documents, which shall, in such Authorized Person’s sole judgment, be
necessary, proper or advisable to perform the Company’s obligations under or in connection with
the DIP Financing Documents and the transactions contemplated therein and to carry out fully
the intent of the foregoing resolutions; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of the DIP Commitment Letter, the DIP Credit Agreement and/or any of the DIP Financing
Documents which shall, in such Authorized Person’s sole judgment, be necessary, proper or
advisable; and be it further

V.     Retention of Advisors

               RESOLVED, that, in connection with the Chapter 11 Case, each Authorized
Person, acting singly or jointly, be, and each hereby is, authorized, empowered and directed to
employ and retain all assistance by legal counsel, accountants, financial advisors, investment
bankers and other professionals, on behalf of the Company and its subsidiaries, which such
Authorized Person deems necessary, appropriate, or desirable in connection with, or in
furtherance of, the Chapter 11 Case, with a view to the successful prosecution of the Chapter 11
Case (such acts to be conclusive evidence that such Authorized Person deemed the same to meet
such standard); and be it further

                RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, New York 10153, is hereby retained as attorneys for the Company and
its subsidiaries in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of AlixPartners, LLP, located at 909 Third Avenue,
New York, New York 10022, is hereby retained as financial advisor for the Company and its
subsidiaries in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of PJT Partners Inc., located at 280 Park Avenue,
New York, New York 10017, is hereby retained as investment banker for the Company and its
subsidiaries in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all
further acts and deeds, including, without limitation, (i) the payment of any consideration, (ii) the
payment of fees, expenses and taxes such Authorized Person deems necessary, appropriate, or
desirable, and (iii) negotiating, executing, delivering, performing, and filing any and all
documents, motions, pleadings, applications, declarations, affidavits, schedules, statements, lists,
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papers, agreements, certificates and/or instruments (or any amendments or modifications thereto)
in connection with the engagement of professionals contemplated by the foregoing resolutions
(such acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

VI.    General

               RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all
further acts or deeds, including, but not limited to, (i) the negotiation of such additional
agreements, amendments, modifications, supplements, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (ii) the execution,
delivery and filing (if applicable) of any of the foregoing, and (iii) the payment of all fees,
consent payments, taxes and other expenses as any such Authorized Person, in his or her sole
discretion, may approve or deem necessary, appropriate or desirable in order to carry out the
intent and accomplish the purposes of the foregoing resolutions and the transactions
contemplated thereby, all of such actions, executions, deliveries, filings and payments to be
conclusive evidence of such approval or that such Authorized Person deemed the same to be so
necessary, appropriate or desirable; and

               RESOLVED, that any and all past actions heretofore taken by any Authorized
Person, any director, or any member of the Company in the name and on behalf of the Company
in furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects.




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Fill in this information to identify the case:

Debtor name: Westinghouse Electric Company LLC
United States Bankruptcy Court for the: Southern District of New York
                                                                    (State)
Case number (If known):

                                                                                                                                              ☐ Check if this is an
                                                                                                                                                   amended filing
Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                         12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include
claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in
11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from
inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
Name of creditor and complete           Name, telephone number, and email         Nature of the        Indicate if         Amount of unsecured claim
mailing address, including zip code     address of creditor contact               claim (for           claim is
                                                                                  example, trade       contingent,         If the claim is fully unsecured, fill in only
                                                                                  debts, bank loans,   unliquidated,       unsecured claim amount. If claim is partially
                                                                                  professional         or disputed         secured, fill in total claim amount and
                                                                                  services, and                            deduction for value of collateral or setoff to
                                                                                  government                               calculate unsecured claim.
                                                                                  contracts)

                                                                                                                           Total claim,     Deduction      Unsecured
                                                                                                                           if partially     for value of   claim
                                                                                                                           secured          collateral
                                                                                                                                            or setoff

1    FLUOR ENTERPRISES INC              Name: Pat Selvaggio                       Trade Debts                                                              $193,891,735
     (FEI)                              Tel:
     100 Fluor Daniel Drive             Email: Pat.Selvaggio@Fluor.com
     Greenville, SC 29607

2    CB&I                               Name: Lee Pressley                        Deferred               Contingent                                        $145,000,000
     One CB&I Plaza, 2103               Tel: (815) 342-3905                       Purchase Price
     Research Forest Drive              Email: lpresley@CBI.com
     The Woodlands, TX 77380

3    CB&I LAURENS INC                   Name: Rick Crow                           Trade Debts                                                                $32,806,489
     366 Old Airport Rd                 Tel: 864-683-3962
     Laurens, SC 29360                  Email: Rick.crow@cbi.com


4    NEWPORT NEWS                       Name: Steve Napiecek                      Trade Debts                                                                $18,463,053
     INDUSTRIAL CORP                    Tel: 757-870-2463
     182 Enterprise Dr                  Email: Steve.Napiecek@hii-nns.com
     Newport News, VA 23603-1368

5    NUCLEAR FUEL SERVICES              Name: Frank Masseth                       Trade Debts                                                                $10,086,210
     INC                                Tel: 423-735-5661
     1205 Banner Hill Rd                Email:
     Erwin, TN 37650-9318               fxmasseth@nuclearfuelservices.com

6    VIGOR                              Name: Corey Yraguen                       Trade Debts                                                                 $8,345,458
     9460 SE Lawnfield Rd.              Tel: 503-314-0859
     Clackamas, OR 97015                Email: Corey.Yraguen@vigor.net


7    THOMPSON                           Name: William Gryant                      Trade Debts                                                                 $8,027,241
     CONSTRUCTION GROUP                 Tel: 864-643-9592
     INC.                               Email: bbryant@thompsonind.com
     100 North Main Street
     Sumter, SC 29150



Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                  page 1

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Debtor        Westinghouse Electric Company LLC
                                                          Pg 15 of 22    Case number (if
                                                                                                  known)
              Name

Name of creditor and complete           Name, telephone number, and email        Nature of the         Indicate if         Amount of unsecured claim
mailing address, including zip code     address of creditor contact              claim (for            claim is
                                                                                 example, trade        contingent,         If the claim is fully unsecured, fill in only
                                                                                 debts, bank loans,    unliquidated,       unsecured claim amount. If claim is partially
                                                                                 professional          or disputed         secured, fill in total claim amount and
                                                                                 services, and                             deduction for value of collateral or setoff to
                                                                                 government                                calculate unsecured claim.
                                                                                 contracts)

8    RSCC WIRE & CABLE LLC              Name: Mark St. Onge                      Trade Debts                                                                  $7,931,485
     20 Bradley Park Rd                 Tel: 203-645-2275
     East Granby, CT 06026-9789         Email: Mark.stonge@r-scc.com


9    CURTISS WRIGHT                     Name: David C. Adams                     Trade Debts                                                                  $7,782,122
     13925 Ballantyne Corporate         Tel: 704-869-4667
     Place, Suite 400                   Email:
     Charlotte, NC 28277                dadams@CURTISSWRIGHT.com

10   SSM INDUSTRIES INC                 Name: Matt Gorman                        Trade Debts                                                                  $5,479,722
     3401 Grand Ave                     Tel: 412-777-2101, ext 320
     Pittsburgh, PA 15225-1507          Email: mgorman@ssmi.biz


11   AECON INDUSTRIAL                   Name: Ian Turnbull                       Trade Debts                                                                  $5,465,543
     150 Sheldon Drive                  Tel: 519-240-5487
     Cambridge, UK N1R7K9               Email: iturnbull@aecon.com


12   WILLIAMS SPECIALTY                 Name: Douglas Page                       Trade Debts                                                                  $5,153,942
     SERVICES LLC                       Tel: 770-595-7691
     100 Crescent Centre Parkway        Email: dpage@wisgrp.com
     Tucker, GA 30084

13   GEXPRO                             Name: Dan Collins                        Trade Debts                                                                  $5,087,626
     1000 Bridgeport Ave                Tel: 412-877-0267
     Shelton, CT 06484                  Email: Dan.Collins@gexpro.com


14   SMCI                               Name: Bob Marshall                       Trade Debts                                                                  $5,012,335
     4015 Drane Field Rd                Tel: 423-413-1582
     Lakeland, FL 33811-1290            Email: Bob.marshall@metaltek.com


15   RESEARCH COTTRELL                  Name: John Urbaniak                      Trade Debts                                                                  $4,386,505
     COOLING INC                        Tel:
     58 East Main Street                Email: John.urbaniak@rc-cooling.com
     Somerville, NJ 08876

16   GARNEY COMPANIES INC               Name: Greg Harris                        Trade Debts                                                                  $3,762,101
     5895 Shiloh Road, Suite 114        Tel: (770) 754-4141
     Alpharetta, GA 30004               Email: gharris@garney.com


17   ACCENTURE LLP                      Name: Mark Sobota                        Trade Debts                                                                  $3,494,139
     K&L Gates Center                   Tel: 724-787-9807
     210 6th Ave. 25th Floor            Email: mark.sobota@accenture.com
     Pittsburg, PA 15222-2614

18   OWEN INDUSTRIES INC                Name: Tyler Owen                         Trade Debts                                                                  $3,410,946
     501 Avenue H.                      Tel: 402-290-1481
     Carter Lake, IA 51510              Email: towen@owenind.com


19   DUBOSE NATIONAL ENERGY             Name: Richard Rogers                     Trade Debts                                                                  $3,358,718
     SERVICE                            Tel: 910-590-2151
     900 Industrial Dr                  Email:
     Clinton, NC 28328-8068             Richard.rogers@dubosenes.com

20   STEELFAB INC                       Name: Glen Sherrill                      Trade Debts                                                                  $3,151,617
     8623 Old Dowd Rd.                  Tel: 704-604-6603
     Charlotte, NC 28214                Email: GSherrill@steelfab-inc.com




Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                page 2

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Debtor        Westinghouse Electric Company LLC
                                                          Pg 16 of 22    Case number (if
                                                                                                  known)
              Name

Name of creditor and complete           Name, telephone number, and email        Nature of the         Indicate if         Amount of unsecured claim
mailing address, including zip code     address of creditor contact              claim (for            claim is
                                                                                 example, trade        contingent,         If the claim is fully unsecured, fill in only
                                                                                 debts, bank loans,    unliquidated,       unsecured claim amount. If claim is partially
                                                                                 professional          or disputed         secured, fill in total claim amount and
                                                                                 services, and                             deduction for value of collateral or setoff to
                                                                                 government                                calculate unsecured claim.
                                                                                 contracts)

21   CSC COMPUTER SCIENCES              Name: Rick Beroth                        Trade Debts                                                                  $3,090,237
     CORP                               Tel: 336-399-9825
     1775 Tysons Blvd                   Email: rberoth@csc.com
     McLean, VA 22102-4284

22   ENVIROVAC HOLDINGS LLC             Name: Ann Brown                          Trade Debts                                                                  $3,040,135
     486 Old Louisville Road            Tel: 912-964-0660
     Garden City, GA 31408              Email: ann@envirovac.us


23   AMERICAN EQUIPMENT CO              Name: Dean Smith                         Trade Debts                                                                  $3,018,565
     2106 Anderson Road                 Tel: 864.354.9520
     Greenville, SC 29611               Email: dean.smith@ameco.com


24   VALLEN                             Name: Cantey Haile                       Trade Debts                                                                  $2,948,212
     900 Sunset Blvd                    Tel:
     West Columbia, SC 29169-           Email: Cantey.Haile@vallen.com
     6860

25   HERC RENTALS                       Name: James Fiscus                       Trade Debts                                                                  $2,846,014
     6230 S Loop E                      Tel: 832-414-0236
     Houston, TX 75265                  Email: james.fiscus@hercrentals.com


26   SIEMENS INDUSTRY INC               Name: Scott Conner                       Trade Debts                                                                  $2,824,817
     4620 Forest Ave                    Tel: 540-314-7009
     Cincinnati, OH 45212-3306          Email: scott.conner@siemens.com


27   CALVERT COMPANY                    Name: Douglas Calvert                    Trade Debts                                                                  $2,614,441
     INCORPORATED                       Tel: (912) 293-2278
     3100 West 7th Street, Suite        Email: sambarr@azz.com
     500
     Fort Worth, TX 76107
28   JONES LANG LASALLE                 Name: Matt Gonterman                     Trade Debts                                                                  $2,582,841
     AMERICAS INC                       Tel: 312 228 2142
     200 E Randolph St Ste. 4300        Email:
     Chicago, IL 60601-6519             matt.gonterman@am.jll.com

29   EATON CORP                         Name: Heath B. Monesmith                 Trade Debts                                                                  $2,475,281
     8609 Six Forks Rd                  Tel: (440) 523-4488
     Raleigh, NC 27615-2966             Email: heathbmonesmith@eaton.com


30   MARTIN MARIETTA                    Name: Roselyn R. Bar                     Trade Debts                                                                  $2,434,753
     MATERIALS                          Tel: (919) 783-4603
     Dba Martin Marietta                Email:
     Aggregates                         roselyn.bar@martinmarietta.com
     Columbia, SC 29033




Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                page 3

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Fill in this information to identify the case:

Debtor name: Westinghouse Electric Company LLC
United States Bankruptcy Court for the: Southern District of New York
                                                                   (State)
Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must state the
individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules
1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

        Declaration and signature

      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
      of the partnership; or another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the
      information is true and correct:
      ☐ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      ☐ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐ Schedule H: Codebtors (Official Form 206H)
      ☐ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐ Amended Schedule ____
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims
      and Are Not Insiders (Official Form 204)
      ☐ Other document that requires a declaration
      I declare under penalty of perjury that the foregoing is true and correct.

                                                  
      Executed on: 03/29/2017                            /s/ Lisa J. Donahue
                 MM/DD/YYYY                              Signature of individual signing on behalf of debtor
                                                         Lisa J. Donahue
                                                         Printed name
                                                         Chief Transition and Development Officer
                                                         Position or relationship to debtor




Official Form 202             Declaration Under Penalty of Perjury for Non‐Individual Debtors                   page 1

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------------ x
In re:                                                       :       Chapter 11
                                                             :
WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17– ________ (             )
LLC, et al.,                                                 :
                                                             :
                                                             :
                  Debtors. 1                                 :       (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

      CONSOLIDATED LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
     RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

          Debtor                   Equity Holder             Percentage of           Last Known Address of
                                                              Ownership                  Equity Holder
Westinghouse Electric TSB Nuclear Energy                                         1000 Westinghouse Drive,
Company LLC           Services Inc.                                              Cranberry Township,
                                                                  100%
                                                                                 Pennsylvania 16066, United
                                                                                 States
CE Nuclear Power              Westinghouse Electric                              1000 Westinghouse Drive,
International, Inc.           Company LLC                                        Cranberry Township,
                                                                  100%
                                                                                 Pennsylvania 16066, United
                                                                                 States
Fauske and Associates Westinghouse Electric                                      1000 Westinghouse Drive,
LLC                   Company LLC                                                Cranberry Township,
                                                                  100%
                                                                                 Pennsylvania 16066, United
                                                                                 States



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
Toshiba Nuclear Energy Holdings (UK) Limited (2348), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
(6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
(N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.




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          Debtor                  Equity Holder           Percentage of        Last Known Address of
                                                           Ownership               Equity Holder
Field Services, LLC           WECTEC Global                               1000 Westinghouse Drive,
                              Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
Nuclear Technology            WECTEC Global                               1000 Westinghouse Drive,
Solutions LLC                 Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
PaR Nuclear Holding           Westinghouse Electric                       1000 Westinghouse Drive,
Co., Inc.                     Company LLC (100%)                          Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
PaR Nuclear, Inc.             PaR Nuclear Holding                         899 Highway 96 West,
                              Co., Inc.                      100%         Shoreview, Minnesota 55126,
                                                                          United States
PCI Energy Services           WEC Welding &                               One Energy Drive, Lake Bluff,
                                                             100%
LLC                           Machining, LLC                              Illinois 60044, United States
Shaw Global                   WECTEC Global                               1000 Westinghouse Drive,
Services, LLC                 Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
Shaw Nuclear                  WECTEC Global                               1000 Westinghouse Drive,
Services, Inc.                Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
Stone & Webster Asia          WECTEC Global                               1000 Westinghouse Drive,
Inc.                          Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
                              IHI Corporation                             1, Shin-Nakahara-cho, Isogo-
                                                               3%
                                                                          ku, Yokohama 235-8501, Japan
                              National Atomic                             168, Bogenbai batyr st. 050012,
Toshiba Nuclear
                              Company                         10%         Almaty, Republic of
Energy Holdings
                              Kazatomprom                                 Kazakhstan
(UK) Limited
                              Toshiba Corporation                         [1-1, Shibaura 1-chome,,
                                                              87%         Minato-ku,Tokyo 105-8001,
                                                                          Japan]
TSB Nuclear Energy            TSB Nuclear Energy                          1105 N. Market Street, Suite
Services Inc.                 USA Group Inc.                 100%         1126,Wilmington, Delaware
                                                                          19801, United States
Stone & Webster               WECTEC Global                               1000 Westinghouse Drive,
Construction Inc.             Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States



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          Debtor                  Equity Holder           Percentage of        Last Known Address of
                                                           Ownership                Equity Holder
Stone & Webster               WECTEC Global                               1000 Westinghouse Drive,
International Inc.            Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
Stone & Webster               WECTEC Global                               1000 Westinghouse Drive,
Services LLC                  Project Services Inc.                       Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WEC Carolina Energy           WEC Welding &                               One Energy Drive, Lake Bluff,
                                                             100%
Solutions, LLC                Machining, LLC                              Illinois 60044, United States
WEC Carolina Energy           WEC Carolina Energy                         244 East Mount Gallant Road,
Solutions, Inc.               Solutions, LLC                 100%         Rock Hill, South Carolina
                                                                          29730, United States
WEC Engineering               Westinghouse Electric                       1000 Westinghouse Drive,
Services Inc.                 Company LLC                                 Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WEC Equipment &               WEC Welding &                               One Energy Drive, Lake Bluff,
Machining Solutions,          Machining, LLC                 100%         Illinois 60044, United States
LLC
WEC Specialty LLC             Westinghouse Electric                       1000 Westinghouse Drive,
                              Company LLC                                 Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WEC Welding and               Westinghouse Electric                       1000 Westinghouse Drive,
Machining, LLC                Company LLC                                 Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WECTEC Contractors WECTEC Global                                          1000 Westinghouse Drive,
Inc.               Project Services Inc.                                  Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WECTEC Global                 WECTEC LLC                                  1000 Westinghouse Drive,
Project Services Inc.                                                     Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WECTEC LLC                    Westinghouse Electric                       1000 Westinghouse Drive,
                              Company LLC                                 Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
WECTEC Staffing               WECTEC LLC                                  1000 Westinghouse Drive,
Services LLC                                                              Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States



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          Debtor                  Equity Holder           Percentage of       Last Known Address of
                                                           Ownership              Equity Holder
Westinghouse Energy           Westinghouse Electric                       1000 Westinghouse Drive,
Systems LLC                   Company LLC                                 Cranberry Township,
                                                             100%
                                                                          Pennsylvania 16066, United
                                                                          States
Westinghouse                  Westinghouse Electric                       1000 Westinghouse Drive,
Industry Products             Company LLC                                 Cranberry Township,
                                                             100%
International                                                             Pennsylvania 16066, United
Company LLC                                                               States
Westinghouse                  Westinghouse Electric                       1000 Westinghouse Drive,
International                 Company LLC                                 Cranberry Township,
                                                             100%
Technology LLC                                                            Pennsylvania 16066, United
                                                                          States
Westinghouse         Westinghouse Electric                                1000 Westinghouse Drive,
Technology Licensing Company LLC                                          Cranberry Township,
                                                             100%
Company LLC                                                               Pennsylvania 16066, United
                                                                          States




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Fill in this information to identify the case:

Debtor name: Westinghouse Electric Company LLC
United States Bankruptcy Court for the: Southern District of New York
                                                                   (State)
Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must state the
individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules
1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

        Declaration and signature

      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
      of the partnership; or another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the
      information is true and correct:
      ☐ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      ☐ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐ Schedule H: Codebtors (Official Form 206H)
      ☐ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐ Amended Schedule ____
      ☐ Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims
      and Are Not Insiders (Official Form 204)
       Other document that requires a declaration Consolidated List of Equity Security Holders
      I declare under penalty of perjury that the foregoing is true and correct.

                                                  
      Executed on: 03/29/2017                            /s/ Lisa J. Donahue
                 MM/DD/YYYY                              Signature of individual signing on behalf of debtor
                                                         Lisa J. Donahue
                                                         Printed name
                                                         Chief Transition and Development Officer
                                                         Position or relationship to debtor




Official Form 202             Declaration Under Penalty of Perjury for Non‐Individual Debtors                   page 1

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